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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

___________________________________
                                    )
AIDS VACCINE ADVOCACY               )
COALITION, et al.,                  )
                                    )
                  Plaintiffs,       )         Civil Action No. 25-cv-400
                                    )
            v.                      )
                                    )
UNITED STATES DEPARTMENT            )
OF STATE, et al.,                   )
                                    )
                  Defendants.       )
___________________________________ )


  REPLY TO DEFENDANTS’ RESPONSE TO PLAINTIFFS’ EMERGENCY
                          MOTION

      Responding to Plaintiffs’ Emergency Motion to Enforce the Temporary

Restraining Order and to Hold Restrained Defendants in Civil Contempt (ECF 26),

Defendants appear to misunderstand the purpose of a temporary restraining order.

A TRO is a tool of the federal courts to prevent irreparable harm, on an emergency

basis, thereby permitting courts to afford full consideration to merits questions on an

orderly basis. Such relief is warranted when the moving party shows a substantial

likelihood of success on the merits, irreparable harm if the TRO is not granted, and

that the balance of equities and public interest favor entry of an injunction. See Mem.

in Support of Plaintiffs’ Mot. for Temporary Restraining Order, ECF 13-1 at 9.

      This Court held a hearing on Plaintiffs’ motion for a TRO, at which time

Defendants were afforded the opportunity to explain their position. The Court

subsequently issued a thoroughly reasoned opinion and order granting such relief.
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ECF 17. This Court’s order unambiguously enjoined “Restrained Defendants” from

enforcing or giving effect to provisions 1, 5, 7, 8, and 9 of the Rubio Memorandum and

to any other directives that implement Sections 3(a) and 3(c) of Executive Order

14169. Id.

      Defendants’ February 18 filing and their response to the motion to enforce

make clear that Defendants never intended to comply with this Court’s order.

Instead, they admit that the TRO prompted them to “beg[i]n an analysis of the

thousands of contracts, grants, and cooperative agreements on which action was

taken.” ECF 22 at ¶ 8. The post-hoc rationalization they now offer to justify their

continued noncompliance with the TRO is pure pretext: It is clear from the record,

and uncontested, that Defendants froze grant funding and issued stop-work orders

because of the directives contained in the Executive Order and subsequent agency

directives stemming from that Executive Order. See, e.g., ECF 1-10 (State

Department memorandum providing that “consistent with the President’s Executive

Order on Reevaluating and Realigning United States Foreign Aid, this

[memorandum] pauses all new publications of funding, pending a review, for foreign

assistance programs funded by or through the Department and USAID”). And the

evidence shows that Defendants made no effort to comply with the portions of the

TRO that enjoin the enforcement or implementation of suspensions, terminations,

and stop-work orders stemming from those directives. See Dec. of Jessica Doe, ECF

26-3 at ¶¶ 43–45 (stating that contracting officers at USAID were alerted to the

existence of the TRO only as of February 17, and that they never received instruction



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to rescind stop-work orders or terminations or halt ongoing stop-work orders and

terminations); see generally Decl. of Pete Marocco, ECF 22-1.

        Now, disingenuously asserting that the challenged actions were taken for

reasons other than to implement the Executive Order and the Rubio Memorandum,

Defendants point to the terms of the grants, contracts, and cooperative agreements

at issue. Yet regardless of whether termination is permitted under the terms of any

of those instruments, Defendants do not contest that any suspensions, terminations,

and stop-work orders issued were, in fact, issued for the purpose of implementing the

Executive Order and Rubio Memorandum.

        Moreover, the language of the instruments does not justify flouting this Court’s

Order. Notably, Defendants rely on implicit incorporation of unidentified terms and

conditions, and even then can offer only that “at least substantially all” or “a large

share” of relevant instruments contain such provisions, see ECF 28 at 4–5—putting

them in admitted violation of the TRO.

        As for Defendants’ assertion that a sanction for violating the Court order is not

warranted because Plaintiffs can seek reimbursement from them for costs, see ECF

28 at 16-17, Defendants’ argument simply disputes the Court’s finding of irreparable

harm.

        Finally, Defendants’ argument as to the posting of security misunderstands

the situation here. Compliance with an order requiring them to continue funding

grants to which the agencies obligated themselves, using money appropriated for that

purpose by Congress, does not impose costs or damages on Defendants. If the Court



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ultimately allows Defendants to terminate the grants, it will not be because the

grants were unlawful or improper. Federal law, including the Impoundment Control

Act, requires Defendants to spend the funds, and, regardless of the ultimate outcome

of this litigation, Defendants suffer no harm from doing so in accordance with their

constitutional, statutory, and contractual obligations.

      Defendants’ new assertions are, in any event, beside the point. Plaintiffs

welcome the opportunity to litigate questions related to terms and conditions of

grants in an orderly fashion, and fully expect to prevail. But at this preliminary stage

of the proceedings, the point is that Plaintiffs and other recipients of foreign

assistance funding—as well as the people across the world they serve—are suffering.

That suffering is irreparable. This Court already recognized as much, see ECF 17 at

p. 3–8, and Defendants do not claim otherwise. This Court likewise already concluded

that Plaintiffs showed that they are likely to succeed on the merits and that Plaintiffs

have demonstrated undisputed “existential consequence to their missions, which may

endanger the health and safety of children and other vulnerable populations,” and

that Defendants “did not dispute the likelihood of those consequences.” Id. at 9–12.

This Court therefore issued a TRO, which Defendants have failed to abide by.

      This Court should not permit Defendants to evade its Order. The Court should

compel compliance by holding the Restrained Defendants in contempt until the TRO

is followed.




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February 20, 2025                  Respectfully submitted,

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